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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DuWAYNE MASON * NO. 2:11-cv-00826(D(1), ev MDL No. 2179

*

VERSUS * JUDGE CARL BARBIER

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SEACOR MARINE, LLC MAGISTRATE JUDGE SALLY SHUSHAN

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MEMORANDUM IN SUPPORT OF
MOTION TO SEVER CLAIM FROM
“DEEPWATER HORIZON MDL”

AND TO SET SCHEDULING CONFERENCE

NOW INTO COURT, through undersigned counsel, comes plaintiff, DuWayne
Mason, and submits the following memorandum in support of the foregoing Motion to Sever
and to Set Scheduling Conference.

MAY IT PLEASE THE COURT:

Du Wayne Mason served as chief engineer aboard the M/V SEACOR VANGUARD,
one of the first responder vessels which came upon the scene of the Deepwater Horizon
explosion and rig fire. Positioned downwind from the massive fire on the rig, the M/V

SEACOR VANGUARD pumped water on the burning rig for almost forty-eight hours before
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the rig collapsed and sank into the ocean. During the vast majority of the time that the M/V
SEACOR VANGUARD was assisting in efforts to extinguish the fire, Du Wayne Mason was
in the relatively confined space of the engine room on the vessel and was exposed to massive
amounts of noxious chemicals and fumes from the rig fire.

As aresult of the foregoing, Du Wayne Mason has suffered severe and irreparable lung
damage. DuWayne Mason nonetheless continued working until approximately thirty days
ago when he was ordered by his treating pulmonologist to permanently cease working as an
engineer or in any other capacity on vessels. Up until the time that his doctor instructed him
to cease working, DuWayne Mason employed Herculean efforts to retain his job, reporting
to work his last several hitches wearing a respirator to facilitate the function of his damaged
lungs.

Because of the filing of the absurd claims by the “Robin” plaintiffs against the first
responder vessels, the owners of those vessels, including Seacor, reacted by filing limitation
actions, significantly, Civil Action 10:3895, was filed by the owners and operators of the
M/V SEACOR VANGUARD. The filing of that claim placed the onus upon DuWayne
Mason to file, reluctantly, a claim in the limitation. Simultaneously, out of an abundance of
caution, DuWayne Mason went ahead and filed the instant civil action.

Because the Vanguard Limitation matter (Civil Action No. 10:3895) was linked to the

Deepwater Horizon MDL (Civil Action No. 2:10-MD-02179-CJB-SS), and because of the
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filing of his claim in the Vanguard Limitation, the rules of this Honorable Court required the
linkage of this case to the MDL.

On November 22, 2011, this Honorable Court issued an order dismissing with
prejudice all claims filed in connection with the Vanguard Limitation (10:3895; R.Doc. 61).
That order, at paragraph 3, recognized the unique nature of the DuWayne Mason claim and
reserved the DuWayne Mason claim as the only claim not dismissed within the context of the
Vanguard Limitation.

Although no documents to this effect have yet been filed, DuWayne Mason hereby
stipulates that the value of his claim cannot possibly exceed the valuation of the M/V
SEACOR VANGUARD.

Reference to the complaint filed in this maritime action reflects that the only named
defendants are the owners and operators of the M/V SEACOR VANGUARD. Si gnificantly,
no claims have been filed against any of those who may have been involved in causing the
Deepwater Horizon disaster. DuWayne Mason hereby certifies that he has filed no claim in
connection with the BP oil spill nor have any claims been submitted in connection with the
Deepwater Horizon medical benefits class action settlement agreement.

Undersigned counsel has thoroughly investigated the nature of the medical benefits
class action settlement agreement and is satisfied that an adequate remedy is not available

for his client within the ambit of that settlement. Undersigned counsel’s investi gation has
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been confirmed through detailed discussions with members of the Plaintiffs’ Steering
Committee handling the MDL. For its part, Seacor, through counsel, has advised Mr. Mason
that Seacor insists that DuWayne Mason first pursue his remedies against BP and others
involved in the initial rig disaster. There is no statute, case law nor any order from this
Honorable Court that requires such action on DuWayne Mason’s part. It is hornbook law
that joint and several liability exists under maritime law. As is his privilege, DuWayne
Mason has elected to pursue his remedy against his employer based upon the allegations of
negligence and unseaworthiness enumerated within the complaint filed in this case. Should
Seacor wish to pursue any rights it may have against those responsible for the blow-out/fire,
it can do so within the context of the MDL or elsewhere.

With the loss of his highly-compensated position as chief engineer, plaintiff and his
family are facing immediate economic catastrophe from the loss of his livelihood. Therefore,
it is imperative to the well-being of this seaman, a ward of this Honorable Court, that his case
should be handled on an expedited basis and not be held captive by the existence of the
MDL. Plaintiff's claim was tenuously connected to the MDL only by virtue of the meritless

“Robin” claims, which have all been dismissed with prejudice. This case now stands alone
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and, as such, should be separated from the MDL and promptly placed upon the Court’s trial

docket.
CERTIFICATE OF SERVICE Respectfully submitted,
T hereby certify that a copy of the above and SILBERT & GARON. L.L.P

foregoing has been served upon all counsel of record
via e-mail (or, if required by the Clerk, by placing same

in the U.S. Mail, postage pre-paid) this 16" day of July, /s/Scott E. Silbert
2012. SCOTT E. SILBERT (12068)
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